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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 OCALA DIVISION


UNITED STATES OF AMERICA

-vs-                                                   Case No. 5:99-cr-12-Oc-10GRJ

CHARLES ALLEN CARTER
______________________________/

                                       ORDER

       On February 5, 2001, Defendant Charles Allen Carter pled guilty to one count of

conspiracy to distribute 50 grams or more of “crack” cocaine in violation of 21 U.S.C. §

841(a)(1), 841(b)(1)(C), 841(b)(1)(A)(iii) and 846.1 At the sentencing hearing held on May

24, 2001, the Court sentenced the Defendant to a term of 168 months imprisonment.

Judgment was entered accordingly on May 30, 2001 (Doc. 200).

       This case comes before the Court for consideration of the United States’ motion for

reduction in the Defendant’s sentence (Doc. 204) pursuant to Rule 35(b)(2)(C) of the

Federal Rules of Criminal Procedure and 18 U.S.C. § 3553(e). The Government’s motion

requests a reduction of the Defendant’s sentence by the equivalent of two offense levels

(corresponding to a guideline range of 140-175 months incarceration) and in support

recites that the Defendant has cooperated with the Government in building a successful

case against Richard Nunes in the Northern District of Florida.2




       1
           Doc. 183.
       2
           5:04-CR7-MCR
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                                      Conclusion

      Accordingly, upon due consideration of the Defendant’s substantial assistance, it is

ordered that:

      (1) the United States’ motion for a reduction in the Defendant’s sentence pursuant

to Rule 35(b)(2) of the Federal Rules of Criminal Procedure and 18 U.S.C. § 3553(e) (Doc.

204) is GRANTED;

      (2) Defendant Charles Allen Carter’s sentence is reduced by two offense levels and

the commitment sentence imposed upon Defendant Charles Allen Carter is hereby reduced

from 168 months to 150 months;

      (3) the judgment entered on May 30, 2001 (Doc. 200) is hereby amended to the

extent set forth in this Order, and in all other respects, the judgment shall remain

undisturbed; and

      (4) the Clerk is directed to furnish a copy of this Order to counsel of record, the

Defendant, the United States Marshal, the Bureau of Prisons, and the United States

Probation Officer.

      IT IS SO ORDERED.

      DONE and ORDERED at Ocala, Florida this 17th day of May, 2005.




Copies to:   United States Attorney
             United States Marshal
             United States Probation Office
             U.S. Pretrial Services Office
             Counsel of Record
             Maurya McSheehy, Courtroom Deputy
             CHARLES ALLEN CARTER


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